             Case 22-90341 Document 266 Filed in TXSB on 01/10/23 Page 1 of 4




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    CORE SCIENTIFIC, et al.,1                                        ) Case No. 22-90341 (DRJ)
                                                                     )
                                       Debtors.                      ) (Jointly Administered)
                                                                     )

                                    NOTICE OF APPEARANCE
                              AND REQUEST FOR SERVICE OF PAPERS

                   PLEASE TAKE NOTICE that, in accordance with Rules 2002 and 9010(b) of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and section 1109(b) of title

11 of the United States Code (the “Bankruptcy Code”), the Official Committee of Unsecured

Creditors, by and through their proposed counsel, Willkie Farr & Gallagher LLP, hereby request

that all notices given or required to be given in the above-captioned cases, and all papers served

or required to be served in these cases, be given to and served upon the following:

                   Brett H. Miller
                   Todd M. Goren
                   James H. Burbage
                   WILLKIE FARR & GALLAGHER LLP
                   787 Seventh Avenue
                   New York, New York 10019
                   Telephone: 212-728-8000
                   Facsimile: 212-728-8111
                   Email: bmiller@willkie.com
                          tgoren@willkie.com
                          jburbage@willkie.com


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific Acquired
      Mining LLC (N/A); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core Scientific
      Specialty Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard Capital LLC
      (6677); RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American Property
      Acquisitions, VII, LLC (3198). The Debtors’ corporate headquarters and service address is 210 Barton Springs
      Road, Suite 300, Austin, Texas 78704.
        Case 22-90341 Document 266 Filed in TXSB on 01/10/23 Page 2 of 4




               AND

               Jennifer J. Hardy (Texas Bar No. 24096068)
               WILLKIE FARR & GALLAGHER LLP
               600 Travis Street
               Houston, Texas 77002
               Telephone: 713-510-1700
               Facsimile: 713-510-1799
               Email: jhardy2@willkie.com

               PLEASE TAKE FURTHER NOTICE that this constitutes not only a request

for service of the notices and papers referred to in the Bankruptcy Rules and Bankruptcy Code,

but also includes, without limitation, a request for service of all orders and notices of any

application, motion, petition, pleading, request, complaint, or demand, whether formal or

informal, whether written or oral, and whether transmitted or conveyed by mail, courier service,

hand delivery, telephone, facsimile transmission, telegraph, telex or otherwise.




                                                  2
         Case 22-90341 Document 266 Filed in TXSB on 01/10/23 Page 3 of 4




Dated:      Houston, Texas
            January 10, 2023

                                 Respectfully Submitted,

                                 WILLKIE FARR & GALLAGHER LLP

                                 By: /s/ Jennifer J. Hardy
                                 Jennifer J. Hardy (Texas Bar No. 24096068)
                                 600 Travis Street
                                 Houston, Texas 77002
                                 Telephone: 713-510-1700
                                 Facsimile: 713-510-1799
                                 Email: jhardy2@willkie.com

                                 AND

                                 Brett H. Miller (pro hac vice motion pending)
                                 Todd M. Goren (pro hac vice motion pending)
                                 James H. Burbage (pro hac vice motion pending)
                                 787 Seventh Avenue
                                 New York, New York 10019
                                 Telephone: 212-728-8000
                                 Facsimile: 212-728-8111
                                 Email: bmiller@willkie.com
                                        tgoren@willkie.com
                                        jburbage@willkie.com

                                 Proposed Counsel to the Official Committee of
                                 Unsecured Creditors




                                         3
        Case 22-90341 Document 266 Filed in TXSB on 01/10/23 Page 4 of 4




                                     Certificate of Service

        I certify that on January 10, 2023, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                         By:    /s/ Jennifer J. Hardy
                                               Jennifer J. Hardy




                                                 4
